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16
17
                                 UNITED STATES DISTRICT COURT
18
                                 EASTERN DISTRICT OF CALIFORNIA
19
                                          FRESNO DIVISION
20
21   EARTH ISLAND INSTITUTE, et al.                    No.: 1:19-cv-01420-DAD-SAB
22                 Plaintiffs,
                                                       STATEMENT OF UNDISPUTED FACTS
23          v.                                         IN SUPPORT OF PLAINTIFFS’ MOTION
                                                       FOR SUMMERY JUDGMENT
24   KIMBERLY NASH, et al.,
                                                       Oral Argument Requested
25                 Defendants.
                                                       Hon. Dale A. Drozd
26
27
28
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       IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT                   3141 E. Burnside St.
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 1          Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 260(a), Plaintiffs Earth
 2   Island Institute, Greenpeace Inc., Sequoia ForestKeeper, and Dr. James E. Hansen (collectively,
 3
     “Plaintiffs”) submit the following Statement of Undisputed Facts in support of their Motion for
 4
     Summary Judgment.
 5
                               Undisputed Facts                           Supporting Evidence
 6
 7    1     Congress enacted the Disaster Relief Act of 2013 in       Pub. L. No. 113-2, 127 Stat. 4,

 8          the wake of Hurricane Sandy to provide funding for        15 (2013).
 9
            disaster recovery efforts in “the most impacted and
10
            distressed areas” resulting from major disasters
11
            declared pursuant to the Stafford Act, 42 U.S.C. §§
12
13          5121 et seq. This Act allocates funding to the U.S.

14          Department of Housing and Urban Development’s

15          (“HUD”) Community Development Block Grant
16
            program (“CDBG”) for “necessary expenses related to
17
            disaster relief, long-term recovery, restoration of
18
            infrastructure and housing, and economic
19
20          revitalization.”

21    2     The National Disaster Resilience Competition              HCD_II.A.0000001;
22          (“NDRC”) grant is a competitive grant sourced from        HCD Answer, Dkt. # 63, ¶ 62.
23
            the funds allocated by the Disaster Relief
24
            Appropriations Act CDBG program.
25
26
27
28

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 1   3     In 2013, the Rim Fire burned more than 257,000 acres      HCD_I.A.0000002;
 2         across Northern California, including public forestland   HCD Answer, Dkt. # 63, ¶¶ 1,
 3
           managed by the U.S. Forest Service.                       53.
 4
     4     In 2015, the State of California applied for the U.S.     See generally
 5
 6         Department of Housing and Urban Development               HCD_I.B.0000001 (NDRC

 7         (“HUD”) federal disaster relief funding through the       Phase II grant application);

 8         NDRC. The application was in response to the Rim          HCD Answer, Dkt. # 63, ¶¶
 9
           Fire wildfires of 2013.                                   107, 109.
10
     5     On June 7, 2016, HUD awarded the State of                 HCD_I.D.0000048;
11
           California’s Department of Housing and Community          HCD Answer, Dkt. # 63, ¶¶ 1,
12
13         Development (“HCD”) $70 million in disaster relief        23, 64.

14         funding through the NDRC block-grant. This grant
15         money is for recovery projects in Tuolumne County.
16
     6     HCD is a California state agency and Janice Waddell       HCD Answer, Dkt. # 63, ¶¶
17
           is the current Grant Management Section Chief of          23–24.
18
           HCD’s Division of Financial Assistance. Ms. Waddell
19
20         currently has the authority to act as HCD’s certifying

21         officer for the HUD funds received.
22
     7     The State of California’s NDRC grant application          HCD_I.B.0000004–05;
23
           proposed using the HUD funding for a three-pronged,       HCD_I.D.0000074–76;
24
           linked programmatic effort for the Rim Fire area called HCD Answer, Dkt. # 63, ¶¶
25
26         the “Community Watershed Resilience Program”              65, 91.

27         (“CWRP”). The program consists of three
28

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 1          interdependent pillars allocating $28 million for the
 2          “Forest and Watershed Health Program” (“FWHP”);
 3
            $22 million for the “Biomass Utilization Facility”; and
 4
            $20 million “Community Resilience Center(s).” The
 5
            only pillars at issue in this case are the FWHP logging
 6
 7          project and the Biomass Utilization Facility.

 8   8      The FWHP logging project involves logging,                HCD_IV.H.0000026–27;
 9
            minimizing the spread of noxious weeds, and               HCD Answer, Dkt. # 63, ¶¶
10
            replanting conifers within the Rim Fire area of the       66, 110.
11
            Stanislaus National Forest and Tuolumne County,
12
13          California. HCD made payments to the Forest Service

14          using NRDC grant funds for work on this pillar.

15   9      The Biomass Utilization Facility funding will go to       HCD_I.D.0000076.
16
            designing and constructing a new biomass facility in
17
            Tuolumne County. This project is led by the Sierra
18
            Nevada Conservancy and will utilize biomass from
19
20          forest restoration activities.

21   10     In May 2017, HCD issued a public notice for comment       HCD_III.C.0000026;
22
            for the adoption of two Forest Service EISs: the Rim      HCD_II.A.0000001;
23
            Fire Recovery Project EIS (2014) and the Rim Fire         HCD_II.A.0000005.
24
            Reforestation EIS (2016). These projects included
25
26          biomass logging and reforestation work (e.g. creation

27          of new tree plantations and vegetation treatments) in

28

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 1          the Stanislaus National Forest. HCD intended these
 2          EISs to serve as the environmental review for the
 3
            FWHP logging project.
 4
     11     On June 26, 2017, Plaintiff Earth Island Institute       See generally RIM_POST-
 5
 6          submitted comments to HCD requesting HCD to not          2016_AR_000082 (Plaintiffs’

 7          adopt the Recovery and Reforestation EISs for the        June 26, 2017 letter);

 8          CWRP. The letter also requested that HCD withdraw        HCD Answer, Dkt. # 63, ¶¶
 9
            its proposal to accept disaster relief funds, asked      73–74.
10
            Defendants to account for the additional greenhouse
11
            gas emissions the FWHP would produce, and asked
12
13          that defendants analyze the impacts of the FWHP and

14          biomass facility together and provided data and

15          information related to the amount of conifer re-growth
16
            (regeneration) in the project area.
17
     12     In October 2017, HCD filed a Request for Release of      HCD Answer, Dkt. # 63, ¶ 76.
18
            Funds with HUD for the FWHP.
19
20   13     HCD did not produce its own or any supplemental EIS      HCD Answer, Dkt. # 63, ¶¶ 2,

21          analysis for any of the FWHP. HCD made no                54, 57, 71–72, 81, 95, 100–02,
22
            modification to the prior 2014 and 2016 EISs.            113, 122;
23
                                                                     see generally,
24
                                                                     RIM_2014_AR_000174 (2014
25
26                                                                   Rim Fire Recovery EIS);

27
28

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 1                                                                    RIM_2016_AR_000129 (2016
 2                                                                    Rim Fire Reforestation EIS).
 3
     14     On October 5, 2017, HCD issued two RODs—“Rim              See generally RIM_POST-
 4
            Fire Reforestation” and “Rim Fire Recovery”—              2016_AR_000001 (“Rim Fire
 5
 6          finalizing its decision to adopt the 2014 and 2016        Recovery” ROD);

 7          Forest Service EISs.                                      RIM_POST-

 8                                                                    2016_AR_000032 (“Rim Fire
 9
                                                                      Reforestation” ROD).
10
     15     In the Response to Comments in the 2017 Rim Fire          RIM_POST-
11
            Reforestation ROD, the U.S. Forest Service responded      2016_AR_000064–66.
12
13          to Plaintiffs’ comments from June 26, 2017 alleging

14          extensive, natural conifer regeneration. The Forest
15          Service questioned the completeness of the Plaintiffs’
16
            data but indicated it would continue to monitor for
17
            regeneration.
18
     16     Additionally, in the Response to Comments in the          RIM_POST-
19
20          2017 Rim Fire Recovery ROD, HCD replied to                2016_AR_000024.

21          Plaintiffs’ request to analyze increased greenhouse
22
            gases stating, “the FEIS demonstrates that pile burning
23
            and jackpot burning is likely to have the same carbon
24
            dioxide (CO2) emissions as burning material for
25
26          bioenergy.”

27
28

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 1   17     On October 23, 2017, Plaintiffs sent another comment        RIM_POST-
 2          letter to HUD objecting to the release of disaster relief   2016_AR_000111;
 3
            funds. Plaintiffs stated that they believed there were      HCD_III.A.0000001;
 4
            changed circumstances in the project area since the         HCD Answer, Dkt. # 63, ¶ 77.
 5
            2014 and 2016 EISs were made and stated the CWRP
 6
 7          would have different impacts than those analyzed in

 8          those documents. Additionally, Plaintiffs asked again
 9
            for Defendants to analyze the FWHP and biomass
10
            facility together because the biomass facility was not
11
            contemplated in either the 2014 or the 2016 EIS. The
12
13          letter also reiterated that the proposed logging and tree

14          replanting area has considerable natural conifer

15          regeneration.
16
     18     In November 2017, HUD wrote to HCD requesting               HCD Answer, Dkt. # 63, ¶ 78.
17
            that the State respond to Plaintiffs’ objections to the
18
            release of funds. HUD’s letter stated that HUD found
19
20          Plaintiffs’ objections permissible.

21   19     In response to Plaintiffs’ comment letters, HCD             HCD_III.A.0000004;
22          responded that circumstances in the project area were       HCD_III.A.0000007–08;
23
            unchanged and that the EISs from 2014 and 2016 were         HCD Answer, Dkt. # 63, ¶ 79.
24
            not outdated. HCD further stated that the proposed
25
26          activities in the 2014 and 2016 EISs were the same

27
28

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 1          changes being made in the current project and that
 2          “only dead trees are being proposed for treatment.”
 3
     20     On the basis on HCD’s claims, HUD denied Plaintiffs’       HCD_III.A.0000014;
 4
            objections to the release of funding and granted the       HCD_III.A.0000028–29;
 5
 6          NDRC block-grant funding to HCD without requiring          HCD Answer, Dkt. # 63, ¶¶ 3,

 7          any further environmental review.                          9–10, 82.

 8   21     HCD passed a portion of the block-grant funds to U.S.      HCD_III.A.0000014;
 9
            Forest Service for the FWHP logging project.               HCD Answer, Dkt. # 63, ¶¶
10
                                                                       82, 119.
11
     22     On February 9, 2018, Director Kimberly Nash sent a         HCD_III.A.0000034.
12
13          letter to Moira Monahan regarding the rejection letter

14          to the Request for Release of Funds. In this letter,
15          Director Nash admits that the proposed Recovery and
16
            Reforestation activities appear “functionally and
17
            logically related.”
18
19   23     In 2018, Plaintiffs surveyed all of the same locations     HCD_III.B.0000515–17.

20          (plots) the Forest Service visited in 2014 and 2015

21          within the roughly 2,500 to 3,000 acres of intact,
22
            unlogged post-fire habitat in the NDRC grant units,
23
            where Defendants claimed that “within the areas
24
            proposed for treatment” there was “little to no” conifer
25
26          regeneration.

27
28

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 1   24     On June 6, 2018, Plaintiffs wrote again to HUD and          HCD_III.B.0000512;
 2          HCD. This letter provided a summary of new                  HCD_III.B.0000515–19;
 3
            information and data collected by Plaintiffs in 2018        HCD_III.B.0000522–23.
 4
            confirming previous findings of extensive natural post-
 5
            fire conifer regeneration in the Rim Fire project area.
 6
 7          The letter confirmed regeneration was happening on a

 8          much larger scale and in much larger concentrations
 9
            than the 2014 and 2016 EISs analyzed. It also
10
            demonstrated that as of 2018, in at least 50% of the
11
            Forest Service’s filed plots, there was natural
12
13          regeneration. Finally, the letter included reports and

14          updated photographs and data from specific treatment

15          units of imperiled wildlife in the Rim Fire project area.
16
     25     In response to a 2018 FOIA request, the Forest Service      See HUD AR01548 (stating, in
17
            confirmed that no additional surveys for conifer            response to a FOIA request for
18
            regeneration were done in the project area between          survey data from 2016 to
19
20          2016 and 2018.                                              2018, that initial surveys for

21                                                                      conifer regeneration were only
22                                                                      done in 2014 and 2015).
23
     26     On August 14, 2019, Plaintiffs sent another letter to       HCD_III.C.0000013;
24
            HUD and HCD documenting additional conifer                  HCD Answer, Dkt. # 63,¶¶
25
26          regeneration information and requesting once again          86–89.

27          that Defendants refrain from logging certain units with

28

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 1        intact post-fire snag forests, areas with extensive
 2        regeneration, and areas with extensive use by wildlife.
 3
     27   The North et al. (2019) study was included in the           HCD_III.C.0000019 n.3;
 4
          Plaintiffs’ August 14, 2019 letter to HUD and HCD.          HCD_III.C.0000014;
 5
 6        This study contradicts the need to replant in post-fire     HCD_III.C.0000018;

 7        areas. Plaintiffs also asked Defendants again to

 8        analyze the FWHP and biomass facility together.
 9
     28   Plaintiffs Earth Island Institute, Greenpeace Inc.,         See HCD_III.C.0000012
10
          Sequoia ForestKeeper, are non-profit organizations.         (requesting, via email, to halt
11
          Plaintiff Dr. James E. Hansen is an Adjunct Professor       the NRDC funding);
12
13        at Columbia University Earth Institute, Director of         HCD_III.C.0000021 (listing

14        Climate Science, Awareness and Solutions program at         the current Plaintiffs in the
15        the Earth Institute.                                        case and their organizations
16
                                                                      and titles).
17
     29   Plaintiffs’ members reside near or regularly visit the      See HCD_III.B.0000513–14
18
          Stanislaus National Forest, including Rim Fire project      (describing some of the
19
20        area. Those using and enjoying the area derive a            Plaintiffs’ uses of and

21        variety of recreational, scientific, religious, spiritual   relationship to the Rim Fire
22
          and aesthetic benefits. All Plaintiffs have firm plans to   project area);
23
          return to the areas scheduled to be logged by               HCD_III.C.0000016–17
24
          Defendants using the NDRC funding, and have                 (describing a site visit to the
25
26        returned to the areas during the course of this             Rim Fire project area that took

27        litigation.

28

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 1                                                                   place during the course of this
 2                                                                   litigation);
 3
                                                                     HCD_III.B.0000515–19
 4
                                                                     (describing surveys done by
 5
                                                                     Plaintiffs and their results);
 6
 7                                                                   see generally Dkt. # 25

 8                                                                   (Declaration of Chad Hanson);
 9
                                                                     Dkt. # 24 (Declaration of Amy
10
                                                                     Moas);
11
                                                                     Dkt. # 21 (Declaration of Ara
12
13                                                                   Marderosian);

14                                                                   Dkt. # 20 (Declaration of

15                                                                   Daniel Brindis).
16
     30   The FWHP timeline has been running since 2017 and          HCD_IV.H.0000036–37;
17
          is a multi-year project scheduled to be completed in a     HCD Answer, Dkt. # 63, ¶
18
          period of more than two years (by 2022).                   111.
19
20   31   From 2019 to 2020, FWHP logging has occurred in            HCD_IV.H.0000037–38.

21        3,432 acres; from 2017 to 2022, reforestation activities
22        are scheduled but as of October 2019 no trees had been
23
          planted.
24
     32   The biomass facility is also a multi-year project          HCD_IV.H.0000036;
25
26        scheduled to be completed in a period of more than         HCD_IV.H.0000039;

27        two years (by 2022). From 2018 to 2019, feasibility

28

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 1          studies took place to determine the feasibility of           see also HCD_I.H.0000066
 2          building one or more biomass facilities in Tuolumne          (detailing the final findings of
 3
            County. The building of the facility (or, facilities) is     the biomass feasibility
 4
            projected to start from 2020 to 2022.                        studies).
 5
 6    33    HCD is currently working with the Rural Community            See HCD_I.G.0000739

 7          Assistance Corporation (“RCAC”) to manage the                (showing the $20 million

 8          funding of the biomass project(s) and is in the process      contract with RCAC ending in
 9
            of accepting bids for projects to receive the disaster       2022);
10
            relief funding.                                              HCD_I.H.0000282.
11
     Dated: January 21, 2020
12
13                                                  /s/ Meriel Darzen
                                                    Meriel Darzen, Pro Hac Vice
14                                                  Teryn Yazdani, Pro Hac Vice
                                                    Crag Law Center
15
                                                    /s/ Daniel Galpern
16                                                  Law Office of Daniel M. Galpern
17
                                                    Attorneys for Plaintiffs
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